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                              IN THE DISTRICT COURT OF OKLAHOMA COUNTY
                                                                                  FILED IN DISTRICT COURT
                                              STATE OF OKLAHOMA                      OKLAHOMA COUNTY

                                                                                            SEP -5 2017
        Avatar Meher Baba Heartland Center, Inc.,
        an Oklahoma non-profit corporation,                                             RICK WARREN
                                                                                            COURT CLERK
                                                                                      73.
             Plaintiff,

        V.

                                                                Case No.
                                                                        CJ-2017-5010
        State Farm Fire & Casualty Company,
        an Illinois corporation.

             Defendant.

                                                      PETITION


                  COMES NOW Plaintiff Avatar Meher Baba Heartland Center, Inc. and for its petition

        against State Farm Fire & Casualty Company alleges and states as follows:

                                            FIRST CAUSE OF ACTION


                  1.      State Farm Fire & Casualty Company ("State Farm") is an insurance company

        doing business in Oklahoma County, Oklahoma.

                  2.      On or about August 11, 2016, the Plaintiff Avatar Meher Baba Heartland Center,

        Inc. ("Meher Baba") entered into a policy of insurance for property damage with the Defendant,

        insuring premises located in Lincoln County, Oklahoma.

                 3.       On or about September 3, 2016, an earthquake struck in the area of the insured

       premises and caused extensive physical damage to the improvements thereon. The earthquake

        occurred while the policy was in full force and effect.

                 4.       The subject policy provided coverage for physical loss or damage to the insured

        premises loss caused by earthquake.

                 5.       State Farm has failed, neglected and refused to pay the full benefits provided for

                                                                                                EXHIBIT
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in the policy for the loss and damage caused by the September 3, 2016 earthquake. State Farm

has offered to pay a sum much less than the sum the Plaintiff is entitled to according to policy

provisions.

        6.      Plaintiffhas fulfilled its obligations under the contract of insurance and satisfied all

policy conditions.

        7.      By felling to pay for the loss and damage caused by a covered peril, State Farm has

violated the terms of the policy and is therefore in breach of the contract of insurance.

        8.      Plaintiff has been damaged to the extent of the difference in the cost to repair and

replace the damage and loss to the insured premises as estimated and adjusted by State Farm The

Defendant underestimated the replacement value at $14,106.90, v^rhereas the actual replacement

value is in excess of $200,000.

        \^^HEREFORE the Plaintiff Avatar Meher Baba Heartland Center, Inc. is entitled to

recover the cost to repair and replace the insured premises as provided for in the policy, for

attorney's fees, interests, costs, and such other and further relief prayed for in the second cause of

action and as the Court deems Plaintiff is entitled to.

                                  SECOND CAUSE OF ACTION

        9.      Plaintiff adopts the allegations set forth in its First Cause of Action.

        10.     State Farm's actions in denying Plaintiff the full extent of its policy benefits

violated its duty to act in good faith and deal fairly with the Plaintiff.

        11.     As a result of State Farm's bad faith actions, Plaintiff has suffered financial losses

and is entitled to recover damages for such losses, which amount exceeds $75,000.

        WHEREFORE Plaintiffprays for damages for Defendant's bad faith actions, for attorney's

fees, interests, costs, and such other and further relief as the Court deems Plaintiff is entitled to.
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                          I^iel P. Sparks, Vice-Presidleiit of the Board of
                          Directors, Avatar Meher Baba Heartland Center,
                          Inc.,
                          Pro Se

                          Pleading drafted by:



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                          NO APPEARANCE IS ENTERED
                          AS COUNSEL OR RECORD
